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 9

10
     Attorneys for Claimant
     CALEB BRADBERRY
11
                               THE UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13
                                    SAN FRANCISCO DIVISION

14   UNITED STATES OF AMERICA,                   )
                                                 )
15                Plaintiff,                     ) CASE NO. CV 20-7811 RS
           v.                                    )
16
                                                 ) NOTICE OF WITHDRAWAL OF
17   Approximately 69,370 Bitcoin (BTC), Bitcoin ) VERIFIED CLAIM
     Gold (BTG), Bitcoin SV (BSV), and Bitcoin )
18   Cash (BCH) seized from                      )
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbh )
19
     x,                                          )
20                                               )
                  Defendant,                     )
21   _____________________________________ )
                                                 )
22
     CALEB BRADBERRY,                            )
23                                               )
                  Claimant.                      )
24                                               )
25

26                      NOTICE OF WITHDRAWAL OF VERIFIED CLAIM

27         On January 21, 2021, Claimant CALEB BRADBERRY filed his Verified Claim In
28

                                                  - 1 -
                          NOTICE OF WITHDRAWAL OF VERIFIED CLAIM
                                        CV 20-7811 RS
            Case 3:20-cv-07811-RS Document 48 Filed 02/10/21 Page 2 of 3




 1   Accordance With Title 18 U.S.C. §983(A)(4)(A) Rule C(6), Supplemental Rules For Certain

 2   Admiralty And Maritime Claims as Docket No. 35. Claimant hereby withdraws his claim to 1000
 3
     Bitcoins of Defendant Property and waives his right to a judicial adjudication of this forfeiture
 4
     matter. Claimant now files this notice to inform the Court that he is withdrawing his verified claim at
 5
     Docket No. 35.
 6

 7

 8   I, CALEB BRADBERRY, declare under the penalty of perjury that the forgoing representations are
 9
     true and accurate to the best of my knowledge and belief.
10

11
     Dated 2/9/2021                                       _______________________________
12

13                                                        CALEB BRADBERRY, CLAIMANT

14   Attorneys for Claimant CALEB BRADBERRY:
15

16           02/10/2021
     Dated __________________                             ___________________________________
17                                                        Isaac Safier (SBN 277728)
                                                          Law Office of Rebecca Feigelson
18
                                                          345 Franklin Street, Law Chambers Building
19                                                        San Francisco, CA 94102
                                                          Tel: 415-967-0125
20                                                        Fax: 415-789-4305
                                                          Email: IsaacSafier@gmail.com
21

22

23         02/10/2021
     Dated __________________                             ___________________________________

24                                                        Stephen P. New (WV 7756),
                                                          Admitted Pro Hac Vice
25                                                        New, Taylor & Associates
                                                          430 Harper Park Drive
26                                                        Beckley, WV 25801
27
                                                          Tel: 304-250-6017
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                                                      - 2 -
                            NOTICE OF WITHDRAWAL OF VERIFIED CLAIM
                                          CV 20-7811 RS
            Case 3:20-cv-07811-RS Document 48 Filed 02/10/21 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2

 3
     I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed via
 4
                          02/10/2021
     CM/ECF on this __________________________.
 5

 6
                      02/10/2021
 7   Dated this ____________________

 8                                              /s/ Isaac Safier
                                                Isaac Safier, Esq.
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                           NOTICE OF WITHDRAWAL OF VERIFIED CLAIM
                                         CV 20-7811 RS
